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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW HAMPSHIRE

KEVIN CURRINGTON AND TERRI                             :        CIVIL ACTION NO.:
JEAN CURRINGTON H/W,                                   :
                                                       :
and                                                    :
                                                       :
HUNTER GALLY,                                          :
                                                       :
                       Plaintiffs,                     :
                                                       :
v.                                                     :
                                                       :
SIG SAUER, INC.,                                       :
                                                       :
                       Defendant.                      :        JURY TRIAL DEMANDED

                                          COMPLAINT

                                           Introduction

       The Sig Sauer P320 is a tragic example of what happens when a company maximizes

revenue and executive compensation at the expense of quality control and human safety. Despite

overwhelming evidence that the P320 can and has fired without the trigger being pulled, from 2014

to the present, Sig Sauer. Inc. (“Sig”) has continued to market the firearm, putting and leaving a

lethally defective product in the hands of unsuspecting police officers and civilians, around the

country.

       The disregard for human safety has led to severe injuries, lifelong disabilities,

disfigurement and death, leaving innocent victims, including police officers Currington and Gally,

to bear the consequences of the company’s refusal to put safety first. Rather than recall the

weapon, or issue a clear safety warning about it, year after year Sig has denied responsibility, spent

millions on legal fees rather than compensating victims, disparaged victims as incompetent, and

generally shirked its duty of care to the public and law enforcement for the last 10 years.




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                                              NATURE OF ACTION

         1.        Upon information discovered through research, litigation and document production

over the last eight years, the Sig Sauer P320 is the most dangerous pistol sold in the United States

yet has not been recalled.

         2.        The P320 is the first striker-fired gun 1 Sig produced. In an interview in 2017 with

Soldier Systems Daily, Sig explained that it had avoided producing one for many years due to

concerns with disassembly and "accidental," 2 i.e., un-commanded, discharges.

         3.        Those concerns turned out to be justified. In as early as 2013, Sig assessed the risk

of the P320's design and identified multiple unintentional discharge risks.

         4.        For example, Sig was fully aware of at least two defective drop discharges of the

P320 in December 2013 at its own headquarters that occurred during private internal testing.

While testing, Sig’s technicians “encountered primer ignition” after dropping the P320 pistol on

“a couple” of occasions, including in December 2013 and April 2014, “and the engineers were

immediately notified.”

         5.        Despite this knowledge, Sig put the P320 into commerce just three months later

anyway, and expressly informed consumers that it was "drop safe." When it drop fired while

holstered and shot a Stamford, Connecticut, SWAT member in January 2017, Sig denied under

oath that it had any knowledge of prior drop fires of the gun.




1
  A striker-fired pistol is different from a hammer-fired pistol. It contains no external hammer to be pulled back by the
user's thumb. Rather, it has an internal “striker” that is held back under substantial spring pressure much like a crossbow.
2
   In gun industry parlance, an accidental discharge involves no negligence though it implies it to the casual listener.
"An accidental discharge (AD) occurs when there is a mechanical failure of the firearm. This can include things like
firearms that do not have mechanisms to render them drop safe falling a sufficient distance, a firing pin stuck forward,
a sear failing, or rounds heating sufficiently to spontaneously ignite in the chamber)".
https://en.wikipedia.org/wiki/Unintentional_discharge



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         6.       Sig knew, as early as 2014 and possibly earlier, that defective discharges caused by

cumulative or sudden vibration, inertial impulses, drops and/or slight trigger actuations by foreign

objects were a known risk of the P320's single action, fully cocked design. A review of Sig's own

testing documentation, patent documents and press releases makes this clear.

         7.       Sig knew that unintended trigger actuation by a foreign object such as a holster wall

coming into contact with the P320's unprotected trigger could result in defective, unintended

discharges causing severe injury or death.

         8.       Sig also knew of the ability of the pistol's precarious striker foot-sear engagement

to disengage, leading to an unintentional discharge merely upon repeated inertial impulses to the

gun's slide, frame and fire control unit.

         9.       Sig scrambled behind the scenes for a solution to the problem of unintended

discharges as incidents continued to multiply around the country. As incidents continued to

multiply around the country, Sig scrambled behind the scenes for a solution. It applied for a patent

in 2017 to modify the pistol to include a "back-up" sear wall to catch the striker if the primary,

spring-tensioned engagement failed, which Sig knew could happen and was happening in the real

world.

         10.      Sig knew as early as February 2016 if not earlier that the risks of the P320’s design

could result in the severe injury or death of its users and user bystanders, including law

enforcement officers and civilians.

         11.      Tragically for the plaintiffs, Officers Currington and Gally, Sig's own risk analysis

of its defectively designed P320 was proven right with both nearly losing their lives when their

holstered P320s discharged in Texas in May and September of 2024, respectively. Each plaintiff




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was merely doing his job with a holstered P320 at his side when the discharges occurred with

neither plaintiff’s hands near his holstered gun.

       12.     Officers Currington and Gally trusted Sig to live up to its widely advertised and

marketed reputation as a designer and manufacturer of safe and reliable handguns.

       13.     What Currington and Gally did not know, however, was that on top of producing a

single action pistol with no external safety, Sig was also importing inexpensive and unfinished

MIM parts from India and dropping them unfinished or "raw" into the fire control unit of the

P320s. Sig saved money by failing to machine the surface faces of these parts smooth to ensure a

stable strike-sear connection.

       14.     Those parts, moreover, substantially deviated from Sig's own component level

drawings of how the parts should look.

       15.     Like so many others, Officers Currington and Gally trusted Sig to live up to its

promise that the P320 “would not fire unless you want it to.”

       16.     Both put their trust in Sig to manufacture and provide a reasonably safe firearm.

Sig let them down, as the company has done to many others.

       17.     Plaintiffs seek damages, including compensatory and enhanced compensatory

damages, for their severe injuries, medical expenses and emotional trauma, and Sig's long running

coverup of lethal defects in the P320.

                                             PARTIES

       18.     Plaintiff Kevin Currington is an adult individual, citizen and resident of the State

of Texas, residing in West Point, Texas.

       19.     Plaintiff Terri Jean Currington is the wife of Currington, an adult individual, citizen

and resident of the State of Texas residing at the same location.




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       20.     Plaintiff Hunter Gally is an adult individual, citizen and resident of the State of

Texas, residing in Burnet, Texas.

       21.     Defendant, Sig Sauer, Inc. is a corporation or other business entity with its principal

place of business at 72 Pease Boulevard in Newington, New Hampshire 03801, organized and

incorporated under the laws of Delaware.

                                 JURISDICTION AND VENUE

       22.     The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332. There is

perfect diversity of citizenship between the parties. The defendant is a resident of the state of New

Hampshire. Each plaintiff resides in a state other than New Hampshire. The court may exercise

personal jurisdiction over the defendant Sig because it is a resident of New Hampshire.

       23.     Venue is proper because a substantial part of the acts and omissions giving rise to

the action occurred in New Hampshire.

                                  GENERAL ALLEGATIONS
                                 AND HISTORY OF THE P320

       24.     Sig designs and manufactures firearms for sale to law enforcement, military and

commercial markets throughout the United States and internationally and markets and sells its

products directly and through dealers.

       25.     Sig was formerly known as SIG SAUERARMS Inc. and changed its name to Sig

Sauer, Inc. in October 2007. Its Chief Executive Officer at all times relevant to this Complaint

was Ron J. Cohen.

       26.     Upon information and belief, the owner of Sig in the United States is the L&O

Holding Group.      The latter is owned by Michael Lüke and Thomas Ortmeier, who upon

information and belief reside in Germany.




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        27.     The Sig P320 is susceptible to unintended discharges, meaning it can fire without

user intent and a full trigger pull, at an alarmingly high rate.

        28.     There have been over 200 known incidents (and likely many, many more) of Sig

P320s unintentionally discharging. Many of these unintended discharges have caused severe

injury to the users and/or bystanders.

        29.     Most of these users are law enforcement officers, former military personnel, and/or

highly trained and practiced gun owners.

        30.     At all relevant times, Defendants were acting by and through their employees,

servants, and agents, acting within the course and scope of their employment, service and agency.

        31.     In its "Safety Without Compromise" marketing materials for the P320, Sig

promises:




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       32.     Despite this express representation, which Sig has made for years, the weapon lacks

industry-standard safety features and has fired unintentionally without an intentional trigger pull

hundreds of times.

       33.     Defendant Sig had knowledge long before the sales of the P320s used by plaintiffs

that the P320 was capable of firing unintentionally due to defective components, inertial impulses,

and the lack of necessary safety features, including a manual thumb safety, a tabbed trigger safety,

an internal plunger safety, and a de-cocker.

       34.     For almost a decade since the weapon was introduced to the market in 2014 and

since Sig became aware of the risks of the P320’s design, Sig wantonly failed to recall the P320,

or issue an unambiguous safety warning about it, despite Sig’s knowledge of scores of grievous

wounds inflicted upon users and bystanders, as well as the company’s knowledge that vibration as

well as inertial impulses can make the gun fire without a trigger pull.

       35.     Many U.S. law enforcement agencies, local police departments, military personnel

(at a commander’s discretion), and private owners routinely carry pistols with a chambered round.

       36.     At all relevant times Sig knew many of its customers carry with a chambered round

and that American law enforcement agencies as a rule carry with a chambered round.

       37.      In fact, Sig advertises that users can carry the P320 with a round chambered by

annotating the P320’s capacity in various configurations such as “10 + 1,” and “12 + 1.”

       38.     The “+ 1” represents a chambered round.

       39.     The P320 is designed so that forcible rearward movement or "racking" of the slide

places the striker under 100% spring tension, making it fully cocked and ready to fire.




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        40.     Pulling the trigger of the P320 merely drops the sear wall holding the striker foot

in place; it does not further cock the striker spring. The P320 is already fully spring charged once

the slide is racked.

        41.     This differs substantially from the design of other striker fired pistols, in which the

striker is not under complete spring tension (as little as 60% in Glock pistols) and a trigger pull

adds the remaining necessary spring tension to allow the striker to launch forward and hit the rear

of a round.

        42.     In the illustration below, the striker, in orange, is held back by the sear, in blue.

Both are circled. (Figure 1). The lack of a tabbed trigger safety is also circled.

        43.     As multiple CT scans of failed P320s have established, however, the actual

interface between the striker foot and sear is shallower and more precarious than depicted. (Figure

2). The lack of a tabbed trigger safety is also circled:




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Figure 1




Figure 2




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       44.     Sig assembled the P320 using a frame from an earlier hammer-fired Sig pistol, the

P250. Therefore, contrary to Sig's representations, the P320 was never built from "the ground up."

       45.     While competing for a $580 million contract to supply the United States Army with

a new pistol in 2016, Sig’s prototype P320 exhibited more than 200 malfunctions during testing.

The Department of Defense demanded that Sig fix all problems associated with the prototype and

include an external safety:




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        46.     The DOD only agreed to the purchase of the P320 after Sig committed to replacing

several components and including an external manual thumb safety for every military gun sold.

        47.     Upon information and belief, every striker-fired pistol on the market – except those

sold by Sig – is under far less than 100% striker spring pressure and is equipped with some type

of external safety.

        48.     Since the P320’s distribution into the stream of commerce, Sig has expressly

represented that the weapon possessed a "robust safety system":




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        49.     In fact, any single action, striker fired gun without a tabbed trigger or thumb safety

is inherently unsafe and at major risk for drop fires and other discharges without a full trigger pull.

        50.     Sig knew the latter fact as early as December 2013, as the company’s own inhouse

testing demonstrated.

        51.     The purpose of a tabbed trigger safety is to prevent drop fires and to prevent

discharge if the trigger is subjected to any pressure that is not a direct firing pull.

        52.     Despite its manufacturing ability, Sig never included a tabbed trigger safety as a

feature of the P320, saving approximately $5 per gun produced, or $12,500,000 in total given the

number of P320s currently in circulation.

        53.     Sig's original design and manufacture of the P320 rendered the weapon

unreasonably dangerous for its intended uses and for any foreseeable uses, including normal

carrying, holstering, un-holstering, and/or handling.

        54.     One of the designers of the P320, Sean Toner, has testified that he does not carry

his P320 with a round chambered despite knowing that American law enforcement carries with a

chambered round at all times.

        55.     When Sig shipped P320s to dealers for sale to law enforcement agencies and

civilian consumers in 2014, it knew or should have known: a) that the weapon was defective in its

design and unreasonably dangerous for its ordinary uses, intended uses, and other foreseeable uses;

and b.) that un-commanded discharges could and would occur in the ordinary course of using the

weapon.

        56.     The injuries to Officers Currington and Gally, and harm caused to many others, was

the foreseeable result not only of Sig's internal testing in December 2013, but its later failure modes




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and effects criticality analysis (“FMECA”) performed by Sig for both its internal use and the

DOD's analysis in or around 2016.

       57.      Upon information and belief, Sig has not disclosed the FMECA document in P320

discovery to date despite scores of requests for it in federal and state litigation around the country.

       58.      The purpose of the FMECA was to assess the vulnerabilities of the P320 to certain

health and safety risks associated with the use of the P320.

       59.      The FMECA identified risks associated with the use of the P320 including

discharges without a trigger pull of which Sig was already aware. Upon information and belief,

Sig concealed this document and withheld it in discovery in scores of cases going back to 2017.

       60.      Indeed, to contain the spreading incidents and lethal risk of un-commanded

discharges to end users, Sig filed a provisional patent application in October 2017 to add a

"secondary sear notch" to the P320's sear in case the primary engagement failed to due to a mere

"impulse" that "causes the striker to disengage from the first engagement surface," as noted in the

Abstract:




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       61.    Only months before, Sig had informed the public in a press release that "vibration,"

among other inertial impacts, could cause the P320 to catastrophically malfunction.

       62.    While falsely claiming that this jarring language was "common" to other pistols’

user manuals, it was not, and Sig management knew at this point that the P320 was extraordinarily

dangerous because of its reckless design and manufacturing problems.

       63.    Unable to be candid about the problem, however, Sig "reaffirmed the safety" in the

same release, leaving law enforcement and the public completely reassured that the gun was safe:




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       64.     Despite having knowledge of the P320's severe defects, Sig did not adequately warn

the public about the dangers of the P320 or issue a mandatory recall, as it had done for other of its

products that contained defects.

       65.     On September 15, 2017, for example, Sig issued an unambiguous "safety warning"

and mandatory recall of "a limited number of SIG SAUER rifles" due to an "improperly heat-

treated hammer" that "over time could result in a trigger malfunction creating a significant safety

hazard":




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       66.     Again, on November 25, 2020, Sig issued an unambiguous "safety recall notice"

for its CROSS bolt-action rifles, advising owners to "immediately discontinue use of the rifle"

because of the risk of delayed discharges after a trigger pull.




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        67.     Yet at no time did Sig issue a safety warning for the Sig P320 or recall notice.

Instead, it announced a "voluntary upgrade program" for the pistol while stating, at the same time,

that it was safe in its "current configuration."




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         68.      Sig, in short, dissembled and deceived end users that their P320s were safe as is

and, at the same time, tried to erect a legal defense to claims by announcing the ambiguously

worded "voluntary upgrade program" in August 2017.

         69.      The latter was presented as not urgent, optional, performance-related, and in fact

unnecessary. It did not adequately warn any reasonable person of the serious safety risks

associated with the product of which Sig was fully aware by that time.

         70.      Sig failed to issue a safety warning and recall notice for the P320 because Sig had

just been awarded the prestigious $580 million contract with the Department of Defense in January

2017 to make the P320 the standard pistol for U.S. Armed forces, defeating Glock in the process.

A recall and safety notice in view of those facts would have jeopardized that contract and presented

a public relations and marketing disaster for the company.

         71.      Law enforcement and civilian users were therefore left twisting in the wind, at daily

risk of harm including death from the P320.

         72.      Undersigned counsel for plaintiffs has filed numerous lawsuits identifying many of

the Sig P320 unintended discharge incidents from 2014 to the present.

         73.      Documents produced by Sig and obtained directly from victims and law

enforcement agencies establish that Sig knew of at least 107 other incidents and injuries caused by

the P320 before Officers Currington and Gally were shot and nearly killed in 2024.

         74.      Through discovery in prior cases, Sig produced information related to numerous

similar incidents. The documents came in a variety of different forms, including Sig incident

reports, images of incident notes from Sig’s Oracle system 3, police incident reports, emails from

individuals involved in the incidents, inspection reports and civil complaints. Several of these


3
 Sig’s corporate designee on the issue of other similar incidents, Chrisopher Meyer, testified that Sig uses a system
called “Oracle” to track incidents of unintended discharges.



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incidents, evidencing the defective nature of the P320 and Sig’s knowledge and prior notice of the

issue, are described below. 4

    1. Michael Richardson (February 4, 2016) – Roscommon, Michigan, sheriff’s deputy whose
       P320 discharged as he was exiting his patrol vehicle. The incident was captured on Deputy
       Richardson’s bodycam, which is described in greater detail below. Sig Sauer produced a
       police incident report and two affidavits related to this incident. (SIG OAI 00001-000013).
       An excerpt of a report is provided below.




(SIG OAI 00002).

    2. Unnamed Police Officer (July 1, 2016) – Surprise, Arizona, police officer whose fully
       holstered P320 discharged as he was exiting his vehicle. Sig Sauer produced a Word
       document incident report related to this incident. (SIG OAI 000014-000017). An excerpt
       is copied below.




4
  At Sig Sauer’s request, the parties entered into a Stipulated Protective Order in this litigation deeming certain
documents as confidential. The parties agreed that such documents will not be filed with the Court except under seal.
Images contained below were not confidential. Plaintiff will bring a copy of the confidential OSI documents to Court
to allow the Court to review these at a Motion in Limine hearing or at any time before at the Court’s request.



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(SIG OAI 000014).

   3. Thomas Frankenberry (October 11, 2016) – Myrtle Beach, South Carolina, resident and
      retired New York Police Department officer who was shot when his fully holstered P320
      discharged in a restaurant. Sig produced a civil complaint which was filed September 16,
      2019, related to this incident. (SIG OAI 00018-00034).

   4. Cody Hoefs (November 23, 2016) – Tacoma, Washington, resident who was shot by his
      P320 as he was holstering it into a Sig holster. Sig produced a civil complaint which was
      filed February 26, 2020, related to this incident. (SIG OAI 00035-00078).

   5. Kevin Powers (November 19, 2016) – Holmes Beach, Florida, police officer who suffered
      career ending injuries when his P320 discharged while he was in the process of clearing it.
      Sergeant Powers swore under oath that he did not pull the trigger of the firearm. Sig
      produced the civil complaint filed June 3, 2020, and police reports for this case. (SIG OAI
      00079-00182).

   6. Anoka County Deputy (January 4, 2017) – Sig produced an email to a Sig Regional
      Manager for law enforcement sales. The email memorialized information received from
      Jeff Barrett at the Anoka Sherriff’s Department in Minnesota. There, a deputy was carrying
      his P320 in the holster that was provided with the gun. He attempted to remove the
      holstered P320 off his belt, and the gun discharged into his leg. He reported that his hand
      was over the holster and that he does not believe he touched the trigger. Residue inside the
      holster indicated that the muzzle was in the holster at the time of discharge. (SIG OAI
      002052-002954). An excerpt of the email is copied below.




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(SIG OAI 002052-53)

   7. David O’Conner (May 10, 2017). Sig produced notes from its “Oracle” intake system
      related to a discharge in Riverdale, Georgia, where an officer tripped and fell on his gun
      side, causing his holstered P320 to discharge. The weapon stove-piped, further confirming
      that the gun discharged from within the holster.




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8. Michael Stanziola (February 4, 2018) - Hazleton, Pennsylvania, resident who was shot
   when his P320 discharged as he was attempting to place the pistol in his holster. Sig
   produced an internal word document incident report related to this incident. (SIG OAI
   00208; This document is marked as confidential and can be produced to the court as a hard
   copy).

9. Marcie Vadnais (February 17, 2018) –Loudoun County, Virginia, sheriff’s deputy who was
   shot when she was removing her fully holstered P320 from her duty belt. Sig produced a
   civil complaint, forensic documents, correspondence between the Loudoun County
   Sheriff’s Department and Sig, and expert reports, among other documents, related to this
   incident. The narrative of the letter sent by the Loudoun County Sherrif’s Office to Sig on
   March 30, 2018 is copied below. This letter was produced by Sig, bate stamped SIG-OSI-
   209 and demonstrates that Sig was aware of this incident long before Plaintiff’s purchase
   and discharge.




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(SIG OAI 00209)

   10. Jamie O’Ryan (March 27, 2018) – Wallingford, Connecticut, resident whose P320
       discharged as he was racking his slide to chamber a round. Sig produced an internal word
       document incident report and Oracle notes. Sig was aware of this incident by April 19,
       2018. SIG-OSI-399; SIG-OAI-00400, SIG-OAI-00401

   11. Zachary Sandoval (March 30, 2018) – Wellington, Colorado, resident whose P320
       discharged while he was cleaning it. He was certain his fingers never touched the trigger.
       Sig produced a demand letter from Mr. Sandoval’s attorney dated March 11, 2020, which
       demonstrates Sig was aware of this incident before the incidents giving rise to the instant
       action.

   12. Gunter Walker (precise date unclear, appears to be in May, 2018) – Alabama resident whose
       holstered P320 discharged when he placed it on his bedside table. Sig produced emails
       from Mr. Walker and Oracle notes related to this incident. SIG-OAI-00409. Sig became
       aware of this incident on May 7, 2018 when Mr. Walker directly emailed Sig. SIG-OAI-
       00406. This email is marked “confidential” by SIG and can be produced to the court as a
       hard copy.

   13. Unnamed Rancho Cucamonga Texas Sheriff’s Deputy (May 18, 2018) – Rancho
       Cucamonga, Texas, sheriff’s deputy was seriously injured when his holstered P320



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      discharged, seemingly after making contact with his keys. Sig produced an email from the
      sheriff’s office as well as an internal investigation report demonstrating that Sig was aware
      of this incident as of June 21, 2018. SIG-OAI-00411. The email dated June 21, 2018 is
      depicted below.




(SIG OAI 00411).

   14. Paul Lorring (June 7, 2018) – Reno, Nevada, Court Officer whose P320 discharged as he
       was practicing drawing his weapon in the courthouse. Sig produced an internal word
       document incident report and Oracle notes related to this incident, which provide that Sig
       replaced the pistol with a Sig 226 double-action pistol. The Oracle notes prove Sig was
       aware of this incident as of June 13, 2018. (SIG-OAI-00414-00415). These documents
       are marked “confidential” by SIG and can be produced to the court as a hard copy.

   15. John Mascaro (September 12, 2018) – Kingston, New Hampshire, resident was injured
       when his P320 discharged without him pulling the trigger. Sig only provided a demand
       letter from the victim’s attorney, without any additional details related to the incident.

   16. Shannon Hayes (October 13, 2018) – Riverdale, Georgia, police officer who was shot by
       his P320 was he was holstering it. Sig produced a police incident report and civil complaint




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   related to this incident. (SIG OAI 000419-000455) These documents are marked
   “confidential” by SIG and can be produced to the court as a hard copy.

17. Stephen Mayes (October 30, 2018) – Franklin County, Kentucky, resident who was also a
    competitive shooter and former law enforcement officer was shot by a fully holstered P320
    while his hands were off of the firearm. Sig produced a civil complaint related to this
    incident.(SIG OAI 00456-00472).

18. Michael Berkoff (precise date unclear, believed to be November 5, 2018) – was shot in the
    hand and claimed the gun went off without him pulling the trigger. Sig produced “Oracle”
    notes related to this incident demonstrating they were aware of the incident on November
    5, 2018. (SIG-OAI-00473 to 00477). These documents are marked “confidential” by SIG
    and can be produced to the court as a hard copy.

19. Robert Bryan Lang (December 11, 2018) – Fulton County, Georgia, resident who was shot
    by his holstered P320 as he was attempting to remove his holstered P320 from his belt.
    This United States District Court for the Northern District of Georgia case (Case No. 1:21-
    cv-04196-ELR) concluded with a jury finding that the P320 was defective, Sig was
    negligent and Sig failed to warn its users of its defect, and each of these was a cause of the
    harm caused to Mr. Lang.

20. David Duff (December 11, 2018) – Pasco County, Florida, sheriff’s deputy who was shot
    by his holstered P320 while in the process of putting on his duty belt. Mr. Duff maintained
    that he never touched the gun, never removed it from his holster, and did not hit his duty
    belt on anything at the time of discharge. The casing did not eject. Mr. Duff was cleared
    of any wrongdoing following an investigation by the Pasco County Sheriff’s Office. Sig
    produced the Pasco County Sheriff’s investigative file. (SIG OAI 01472-01574). These
    documents are marked “confidential” by SIG and can be produced to the court as a hard
    copy.

21. Justin Schneider (December 22, 2018) – Rocky Ford, Kentucky, resident who handed his
    P320 to his wife, and it discharged during the exchange, striking her in the neck. (SIG OAI
    00490-01171).

22. Unnamed Walkerton, Indiana, Police Officer (January 11, 2019) – Officer’s holstered
    weapon discharged as he was exiting his vehicle, with the weapon in a Level 3 retention
    holster with the strap up. Sig produced inspection notes, emails, and Oracle notes related
    to the incident. (SIG OAI 002055-002065). The email from Walkerton Assistant Chief
    Charles Kulp to Sig employee Thomas Mechling is depicted below.




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(SIG OAI 002056-2057).

   23. Brandon Watson (March 30, 2019) – Tarrant County, Texas, sheriff’s deputy who was shot
       after his P320 discharged while he was unholstering it. Mr. Watson claimed he did not
       touch the trigger and that something must have caught the trigger. Sig produced a civil
       complaint and the sheriff’s department report related to this incident. (SIG OAI 001172-
       001211). These documents are marked “confidential” by SIG and can be produced to the
       court as a hard copy.

   24. Sergeant J. Bocquet (March 13, 2019) – Bayou Vista Police officer experienced an
       unintended discharge as he removed the holstered P320. Sig produced emails and Oracle
       notes which indicated that “[a]s [Sgt. Bocquet] was removing the holstered weapon from
       his side to place it in the gun box the weapon fired.” Chief Jimmie Gillane viewed the
       video from the Sheriff’s Office and could “plainly see Sgt. Bocquet’s finger is indexed
       along the outside of the holster.” (Sig OAI 002066-2072).




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(SIG OAI 2070).

   25. Jonathan Cross (April 30, 2019) – Pasco County, Florida, school resource officer who was
       shot while he was practicing holstering and re-holstering his P320. Sig produced an
       internal word document incident report related to this incident. (SIG OAI 001219).

   26. Thomas Ahern (May 19, 2019) – Cambridge, Massachusetts, SWAT member whose P320
       discharged while he was performing a function check of the weapon. At the time of the
       discharge, Officer Ahern’s right index finger was along the frame of his weapon, and he




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   did not have his finger on the trigger of the gun. Sig produced a civil complaint related to
   this incident. (SIG OAI 01220-01279).

27. Jack Williams (May 25, 2019) – New Bern, North Carolina, resident who was shot while
    on his motorcycle when his holstered P320 in his back pocket discharged. Sig produced a
    civil complaint related to this incident. (SIG OAI 01278).

28. Grant Fujimoto (July, 2019) – User whose firearm discharged while holstering. He
    reported that he did not touch the trigger. Sig produced Oracle notes. (SIG OAI 02073-
    02076).

29. Walter Collette (July 23, 2019) – Somerville, Massachusetts, police officer whose pistol
    discharged while it was wrapped in a towel in his backpack or gym bag. Sig produced an
    internal Word document incident report with minimal details related to this incident. (SIG
    OAI 0001280). These documents are marked “confidential” by SIG and can be produced
    to the court as a hard copy.

30. Jimmy Jinn (July 24, 2019) – New York, New York-based ICE agent who was shot when
    his P320 discharged while he was conducting qualification exercised. Jinn placed his hand
    on his pistol’s grip while it was still holstered, and the pistol discharged. Sig produced a
    civil complaint related to this incident. (SIG OAI 001281-001310).

31. Craig Jacklyn (August 26, 2019) – Southeastern Pennsylvania Transportation Authority
    (SEPTA) police officer whose P320 discharged from within his holster while he was riding
    a golf cart through a police station. The incident was investigated, and Officer Jacklyn was
    cleared of any wrongdoing. In response to this incident, the SEPTA police replaced all of
    the P320s in its arsenal with safer Glock pistols. Sig produced the SEPTA police and
    Philadelphia District Attorney’s office investigative file related to this incident. (SIG OAI
    001311-001391). These documents are marked “confidential” by SIG and can be produced
    to the court as a hard copy.

32. Jacques Derosiers, (October 10, 2019) – Cambridge Police Officer’s P320 discharged as
    he was exiting his vehicle. Sig only produced a brief word document incident report related
    to this incident. (SIG OAI 001392).

33. Frank Kneski (October 11, 2019) – East Orange, New Jersey-based Department of Veterans
    Affairs police officer was attempting to withdraw his pistol from his holster when the
    weapon discharged, causing burn injuries. Sig produced a demand letter from Mr. Kneski’s
    attorney to Sig, an email exchange between a Department of Veterans’ Affairs armorer and
    Sig, and a video of the incident. (SIG OAI 001396-1402).

34. David Albert (December 2, 2019) – Cambridge, Massachusetts, police officer whose P320
    discharged when he hung the pistol on a bathroom stall hook. Sig produced a Word
    document incident report related to this incident. (SIG OAI 001422). These documents
    are marked “confidential” by SIG and can be produced to the court as a hard copy.




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35. Unknown Oklahoma Highway Patrol Officer (date unknown) – Oklahoma Highway Patrol
    Officer’s holstered P320 discharged, allegedly after a foreign object entered the holster.
    An inspection by Sig revealed scratches on the side of the trigger, which Sig implies caused
    the incident. Contact with the scratched side area of this trigger would not have caused a
    discharge if a tabbed trigger was used. (SIG OAI 001404).




36. Ryan Nolan (November 2019) –Mr. Nolan’s P320 discharged as he was deactivating a
    flashlight mounted to his P320. Sig only produced “Oracle” notes related to this incident.




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   (SIG OAI 001405-1407). These documents are marked “confidential” by SIG and can be
   produced to the court as a hard copy.

37. Matthew Gardette (date unknown, likely Fall 2020) – Manteca, California, police officer
    whose fully holstered P320 discharged as he was putting on his gun belt. Sig produced
    “Oracle notes,” correspondence between Sig and the Manteca Police Department,
    photographs, and results of Sig’s unilateral inspection of the subject pistol, and a witness
    statement from a fellow officer. (SIG OAI 001408-1421).




38. Unnamed Fulton County Ohio Sheriff’s Deputy (January 2, 2020) – Fulton County, Ohio,
    sheriff’s deputy whose holstered P320 discharged while training with a K-9. Sig performed
    a unilateral inspection of the pistol and holster and found that the holster could be bent into
    the trigger housing, pressing against the trigger and causing it to move rearward. Sig Sauer
    produced emails between the office and Sig, “Oracle” notes, and a Sig unilateral inspection
    report. (SIG OAI 1423-001432).




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(Image of Oracle Note - SIG OAI 02077).

   39. Kyle Guay (January 28, 2020) – New Hampshire resident whose P320 discharged from
       within his holster while walking his dog. Sig produced a civil complaint related to this
       incident. This matter led to litigation in which the Court concluded that Mr. Guay’s P320
       did discharge without him pulling the trigger. (D.NH 1:20-CV-007365-AJ).




   40. Tanner Larson (January, 2020) – accidental discharge involving a P320 in a Sig -provided
       holster. The notes produced by Sig state “more information and pictures will be provided.”
       No additional notes were provided beyond the Oracle notes. (SIG OAI 02077).




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41. Matthew Levine (March 25, 2020) – Maine resident who was shot by his P320 while he
    was attempting to holster it. Mr. Levine told police he did not have his finger on the trigger
    at the time of discharge. Sig produced the police report related to this incident. (SIG OAI
    001684-001687). These documents are marked “confidential” by SIG and can be produced
    to the court as a hard copy.

42. Chris Campbell (May 20, 2020) – Missouri resident who was shot when he was walking
    with his P320 fully holstered. Sig produced a civil complaint and photographs of Mr.
    Campbell’s injuries. (SIG OAI 001688-001707).

43. Unnamed Elkhart, Indiana, Police Officer (May 21, 2020) – Elkhart, Indiana police officer
    whose P320 discharged while in a small satchel with several other items. Sig produced an
    email from the Elkhart, Indiana police department to Sig and Sig’s unilateral inspection
    report which concluded that an object entered the holster. (SIG OAI 001708-001717).

44. Officer Cushman (first name not listed) (June 2, 2020) – Union City, California, police
    officer whose P320 discharged while fully holstered, within his duty belt, while the belt
    was hanging inside of his locker from its designated hook. Sig produced email
    correspondence between Sig and the Union City, California, police department about the
    incident, and a report from Sig’s unilateral inspection of the subject pistol. (SIG OAI
    001720-001721). These documents are marked “confidential” by SIG and can be produced
    to the court as a hard copy.

45. Blake Thomas (June 8, 2020) – Birmingham, Alabama, resident who experienced an
    unintended discharge of his P320 when it fired after he placed the P320 in the Sig Sauer
    holster as he was leaning over into his car. Mr. Thomas is certain his finger was not on the
    trigger. Sig Sauer produced emails with Mr. Thomas and photographs. (SIG OAI 002095-
    002102). The email report from Mr. Thomas is copied below.




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(SIG OAI 002095-002102).

   46. Adam Maritato (July 14, 2020) – Milwaukee, Wisconsin, police officer who was shot by
       his partner’s holstered P320 while his partner bent over to inspect a vehicle. Sig produced
       the Milwaukee police department file.

   47. Josh Cantu (April 4, 2021) – Laredo, Texas, police officer whose holstered P320 discharged
       while the officer was indoors and watching footage of a crime. Sig produced an incident
       report which provided that this was the third incident of a Laredo, Texas, police officer’s
       firearm going off without the officer touching the pistol. The pertinent section of the
       incident report is below:




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(SIG-OAI-01861, Sig Sauer internal incident report).

       75.     This latter list of OSIs, which are based on Sig’s own documents, demonstrates that

for years before Plaintiffs were shot by their P320s in May and September 2024, Sig was aware of

a long list of unintended discharges where users reported that they did not intentionally pull the

trigger, including numerous additional victims in a case filed in this District on November 30,

2022, No. 22-536 - Armendariz et al v. Sig Sauer, Inc. P320 victims in that case include: Fernando

Armendariz, Nicola Bevacqua, Jada Bray, Matthew Breedon, Zachary Brown, Anthony Buck,

Angela Marie Campbell, Christopher Campbell, William Campbell, Catherine Chargualaf, Juan

San Nicholas Chargualaf, William Clegg, Erin Cooper, Keri Dawn Cuasito, Wendell Cuasito,

Johnny Davis, Diana Delgado, Dionicio Delgado, Joseph Doffeny, Mary Doffeny, David Duff,

Juan Duran, Russell Dykema, Clayton Ellis, Kyla Ellis, Christina Fahlbush, Christopher Fahlbush,

Stephen Fernandez, James Garth, Jr., Rodney Gaston, Joseph Halase, Lynn Marie Halase, Cordell

Hamilton, Amy Hendel, Amber Henyan, Nathan Henyan, Marcos Hernandez, Ashley Renae

Higgins, Cody Higgins, Dwight Jackson, Michaela-Kelly Jackson, Jennifer Jacuzzi, Paulo Jacuzzi,

Charles Laskey-Castle, Michael Lingo, Adam Maritato, Laura Lynn Maritato, John McArtor,




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Rosario McArtor, Travis Lee McQueen, Lindsey Brooke Mixon, Michael Parker, Michelle Parks,

Robert Parks, Melvin Rivera, Yasmin Rivera, Timothy Rzasa, James Scoppa, Leah Michelle

Scoppa, Patrick Sheridan, Brian Tennant, Ehren Tennant, Miriam Trebino, Christian Wuollet,

Leigha Faith Wuollet, and Jerry Wyche.

       76.     The list of OSIs which occurred before plaintiffs unintended discharges is in fact

considerably longer given Sig's knowledge of subsequent multi-plaintiff P320 suits filed in this

District and other suits in courthouses around the country before plaintiffs were shot. Despite

having full notice and knowledge of all these incidents all over the country, Sig said nothing and

warned no one.

       77.     Plaintiffs intend to introduce evidence of the final number of OSIs Sig knew about

before plaintiffs were shot through Sig witnesses as well as through Plaintiffs' experts.

       78.     A growing number of these incidents was captured on video, clearly depicting the

P320 discharging, while in its holster, without the user’s hands anywhere near the gun.

       79.     A compilation of some of the obtained videos of P320s discharging without the user

pulling the trigger can be viewed here: https://vimeo.com/1035626552/9a6b65d08f

       80.     On July 24, 2023, Officer Daniel Witts, of the Montville, Connecticut, Police

Department, experienced his P320 discharging while secured in its holster as he was bent over

with his arms wrapped around a suspect’s leg and nowhere near his gun. A still image of the

discharge can be seen below.




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       81.     On March 28, 2022, Officer Marvin Reyes, of the Houston Police Department, also

experienced his P320 discharging while secured in its holster when he was reaching into his truck

with arms extended and his hands nowhere near the gun. The muzzle flash from the discharge he

experienced can be seen below.




Muzzle Flash




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           82.   On May 4, 2022, Detective David Cole of the Somerset County, Maine, Sheriff’s

Department was walking to his truck after serving a search warrant when his P320 that was secured

in its holster discharged into his right leg. He exclaimed "it just went off" and that it was in the

holster.




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       83.     On May 9, 2024, plaintiff Currington of the LaGrange, Texas Police Department

nearly bled to death when his P320 that was secured in its holster discharged into his leg. As had

Officer Cole in Maine, he stated "it just went off" shortly before being placed in the ambulance.




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        84.   On January 2, 2021, a holstered P320 discharged as an undercover officer was

getting out of his vehicle, launching the gun out of the holster and into the side of an unmarked

patrol car.




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       85.     On February 4, 2016, a fully holstered P320 discharged as a Michigan officer was

exiting his car during a snowstorm. While Sig claimed that a "seat belt" buckle had "made its way"

into the holstered gun and pulled the trigger, a still frame of the bodycam shows nothing inside the

holster immediately after the discharge.




       86.     Tragically, Sig P320 unintentional discharges continue at an alarming rate putting

its users at risk of death or serious bodily injury by performing everyday tasks.

       87.     Upon information and belief, Sig is aware of several fatal incidents involving

unintentional discharges of a Sig P320.




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        88.     To date, Sig has never issued a mandatory recall or safety notice regarding the P320

and continues to sell it.

        89.     Sig’s conduct including design, manufacturing and marketing decisions prioritized

profits over the health and safety of its users and those in the vicinity of the P320.

                                   PLAINTIFFS' INCIDENTS

                            Officer Currington Incident, May 9, 2024

                                         La Grange, Texas

        90.     On May 9, 2024, at approximately 7:30 pm. Officer Currington was locking the

gates at Northside Park in La Grange, Texas.

        91.     Currington, an officer with 35 years of law enforcement experience, was walking

between the gate and his police car when his fully holstered P320 fired a bullet into his right leg.

        92.     At no time were Currington's hands on the holstered gun when it discharged.

        93.     The bullet struck Currington in his right leg below his knee, hitting a major artery

and his fibula bone.

        94.     In extreme pain and distress, Currington managed to call for help on his radio.

        95.     Officer Mitchell Maxwell arrived first to the scene and took over tending to

Currington's profuse bleeding from a good Samaritan who had applied a tourniquet with a belt to

Currington's leg.

        96.     Maxwell applied a second tourniquet and removed Currington's P320 from its

holster. It was fully inside his duty holster and the spent casing of the round that fired was stuck

inside the weapon's firing chamber, establishing that the gun was fully seated and could not

properly cycle or eject the spent casing.




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        97.      Fayette County EMS arrived and transported Currington to Saint David's Hospital

in South Austin. A Travis County EMS commander met the ambulance along the way to deliver a

unit of blood, who was close to death from the extreme loss of blood.

        98.      Currington underwent immediate life-saving surgery.

        99.      The bullet caused permanent nerve damage, macerated tissue, severed an artery,

broke his fibula bone, and remains, in part, in his leg as doctors are concerned removal would

cause more damage. The injury was career-ending and nearly took his life.

                       Officer Hunter Gally Incident, September 24, 2024

                                          Marble Falls, Texas

        100.     On September 24, 2024, Officer Gally was standing beside his patrol vehicle in the

Mable Falls High School parking lot preparing to work security for the school's homecoming

football game.

        101.     Gally, an eight-year veteran of his department and an elementary School Resources

Officer, was assisting with the security of the high school.

        102.     Gally frequently interacted with the students at the high school and the younger

students while wearing his triple retention holstered Sig P320 at his side as he had earlier that day.

        103.     With his passenger door open he reached into his car when his fully holstered P320

discharged a bullet into his right leg.

        104.     Several students and a fireman responded to Gally after he fell to the ground.

        105.     Surveillance footage from a nearby school bus shows that Officer Gally's hands

were not on his holstered P320 when it fired.

        106.     The bullet tore through Gally's thigh and lodged behind his knee. He was airlifted

out of the high school's parking lot and taken to the hospital.




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       107.    The bullet caused nerve damage, macerated tissue, and remains, in part, in his leg

as doctors are concerned removal will cause more damage.

       108.    In a press release dated September 23, 2024, Gally's department unequivocally

cleared Gally of any wrongdoing, stating that he was not "manipulating the weapon in any way

when it discharged inside the holster":




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                                            COUNT ONE

                                           NEGLIGENCE

    (PLAINTIFFS KEVIN CURRINGTON AND HUNTER GALLY v. SIG SAUER, INC.)

          109.   Plaintiffs re-adopt and re-allege all paragraphs of this pleading as if fully set forth

herein.

          110.   At all relevant times, Sig owed Plaintiffs the duty to design the P320 weapon in

such a manner and with the exercise of reasonable care, so as to prevent it from firing without a

user intending it to fire , before selling the gun and placing it into the stream of commerce.

          111.   At all relevant times, Sig owed Plaintiffs the duty to manufacture, assemble, inspect

and/or test its P320s in such a manner and with the exercise of reasonable care, so as to prevent it

from firing without the user wanting it to fire, before selling the gun and placing it into the stream

of commerce.

          112.   At all relevant times, Sig owed a duty to Plaintiffs to unambiguously warn

consumers and/or intended users of the P320, including each of them, of known or suspected

hazards that rendered the gun unreasonably dangerous to handle or use.

          113.   Sig knew or had reason to know that the P320 posed an unreasonable risk of harm

by virtue of its own internal research and testing in 2013, including its later failure modes and

effects criticality analysis in 2016 (“FMECA”).

          114.   Sig also knew or had reason to know that the P320 posed an unreasonable risk of

harm by virtue of formal and informal reports and video evidence from civilian, law enforcement

and military users, national media, and formal claims and lawsuits arising from substantially

similar incidents, internal testing and research, industry publications and research, and other




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sources of information to be developed in discovery, many years before the plaintiffs were shot

and nearly killed.

       115.    Sig breached the above-cited duties in various ways, including but not limited to,

one or more of the following negligent acts:

                i.      By failing to use due care in designing the P320, failing to incorporate an
                        external safety to prevent unintended discharges;

                ii.     By failing to use due care in designing and manufacturing the P320’s
                        internal components to prevent un-commanded discharges;

                iii.    By failing to issue a mandatory recall of the P320;

                iv.     By failing to make reasonable tests and/or inspections to discover the
                        defective, hazardous and unreasonably dangerous conditions relating to
                        the gun’s propensity to discharge un-commanded as described above;

                v.      By negligently failing to unambiguously warn purchasers and end users of
                        the gun, including Plaintiffs, of said defective, hazardous and
                        unreasonably dangerous conditions relating to its design and manufacture,
                        about which it knew or should have known through the exercise of
                        ordinary care;

                vi.     By failing to discover the defective, hazardous and unreasonably
                        dangerous conditions relating to the gun’s propensity to discharge un-
                        commanded while in the possession of Sig, and during which times its
                        employees, servants or agents had an opportunity to inspect, service and
                        work on the gun;

                vii.    By misrepresenting and concealing, the dangers and hazards posed by the
                        gun;

                viii.   By minimizing quality control expenses;

                ix.     By failing to design a firearm that would be safe for all users to operate
                        under ordinary circumstances;

                x.      By failing to incorporate necessary information, warnings, and instructions
                        within the P320 manual and web pages;

                xi.     By negligently misrepresenting that the P320 is safe when carried with a
                        round in the chamber;




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                xii.    By failing to incorporate safeties which were standard among all of the
                        P320s’ competitors;

                xiii.   By failing to use due care in designing and manufacturing the P320’s firing
                        and striker assembly to prevent un-commanded discharges;

                xiv.    By importing inexpensive MIM parts from India and other foreign
                        countries and failing to secondarily machine the surface faces of critical
                        internal components of the fire control unit, including the striker foot face
                        and sear face, and

                xv.     Other negligent acts and omissions to be developed in the course of
                        discovery.

       116.    Sig knew, or should have known, that exposing users to the dangerous and defective

and hazardous conditions existing in the gun would or could give rise to serious bodily injuries to

such users, up to and including death.

       117.    The gun’s defective conditions were not visible, and plaintiffs were not capable of

realizing the dangerous condition and could not have discovered the dangerous condition even

upon performing a reasonable inspection of the same.

       118.    Sig’s negligence, as alleged in this Count, directly and proximately caused the

unintended discharges and injuries to plaintiffs.

       119.    As a direct and proximate result of the negligence set forth in this Count, plaintiffs

suffered severe physical injury, mental anguish, physical deformity and handicap and

embarrassment associated with the same, loss of earnings and earning capacity. Plaintiffs have

further incurred medical expenses, and other expenses and will suffer such losses and impairments

in the future. The plaintiffs are entitled to enhanced compensatory damages due to the wanton,

malicious and/or oppressive nature of the defendant’s conduct.




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                                              COUNT TWO

                                  STRICT PRODUCT LIABILITY

    (PLAINTIFFS KEVIN CURRINGTON AND HUNTER GALLY v. SIG SAUER, INC.)

          120.   Plaintiffs re-adopt and re-allege all paragraphs of this pleading as if fully set forth

herein.

          121.   Sig, by and through its agents, servants, workers, contractors, designers,

assemblers, manufacturers, sellers, suppliers and/or distributors, is strictly liable under §402(A) of

the Restatement (Second) of Torts as adopted by the New Hampshire Superior Court. See

Buckingham v. R.J. Reynolds Tobacco Co., 142 N.H. 822, 825-26 (1998).

          122.   Sig is engaged in the business of selling firearms, including the P320.

          123.   Sig expected P320s to reach the plaintiffs, and the guns did reach the plaintiffs,

without any substantial changes in the condition of the guns as Sig sold them.

          124.   Sig sold the P320s that caused harm to the plaintiffs in a defective condition

unreasonably dangerous to the plaintiffs and each of them.

          125.   The defective and unreasonably dangerous condition in which Sig sold the P320s

at issue in this action directly and proximately caused the physical harm each plaintiff suffered.

          126.   Sig is therefore strictly liable to Plaintiffs.

                                            COUNT THREE

 BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY PURSUANT TO RSA

                                               382-A:2-314

    (PLAINTIFFS KEVIN CURRINGTON AND HUNTER GALLY v. SIG SAUER, INC.)

          127.   Plaintiffs re-adopt and re-allege all paragraphs of this pleading as if fully set forth

herein.




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       128.      At all relevant times, Sig was in the business of marketing, selling, and distributing

weapons, including the guns causing plaintiff's injuries.

       129.      Sig knew of the ordinary purposes for which the guns were intended and impliedly

warranted them to be of merchantable quality, safe, and fit for such purposes such as walking with

the P320 holstered on the hips and all other reasonably foreseeable uses.

       130.      At all relevant times, Plaintiffs used the guns in their intended manner and for its

intended purpose, reasonably relying on the skill, judgment and implied warranty of Sig.

       131.      Sig breached the above-referenced implied warranties as to the gun because, at the

time it left Sig’s possession, it was not of merchantable quality and was unreasonably dangerous

and unfit for the ordinary and reasonably foreseeable purposes for which it was intended and its

reasonably foreseeable misuses by virtue of:

       i.        Failing to use due care in designing and manufacturing the P320’s internal
                 components, including its sear-striker connection, and by omitting a mechanical
                 disconnect switch, so as to prevent un-commanded discharges;

       ii.       Failing to issue a mandatory recall of or safety warning for the P320 as Sig had
                 done in the past with other defective products;

       iii.      Failing to make reasonable tests and/or inspections to discover the defective,
                 hazardous and unreasonably dangerous conditions relating to the gun’s propensity
                 to discharge accidentally as described above;

       iv.       Negligently failing to unambiguously warn purchasers and end users of the gun,
                 including plaintiffs, of said defective, hazardous and unreasonably dangerous
                 conditions relating to its design and manufacture, about which it knew or should
                 have known through the exercise of ordinary care;

       v.        Failing to discover the defective, hazardous and unreasonably dangerous conditions
                 relating to the gun’s propensity to discharge accidentally while in the possession of
                 Sig, and during which times employees, servants or agents of Sig had an
                 opportunity to inspect, service and work on the guns; and

       vi.       Negligently failing to place a warning about the danger of mere “vibration” of the
                 gun in a conspicuous manner, such as on its frame, which could be easily




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                 understood by a consumer, instead of merely revising the bottom of page 25 of the
                 gun’s user manual, after several incidents of accidental discharges.

          132.   Plaintiffs, as the end users of the gun, were persons who would foreseeably be

injured by Sig’s breach of the implied warranty referenced in this Count and Sig’s breach of the

warranty of merchantability as alleged herein, which breaches directly and proximately caused the

defective discharges of their P320s and the resultant injuries.

          133.   As a direct and proximate result of the breaches set forth in this Count, plaintiffs

have suffered and continue to suffer damages in the amount of the difference between the value of

the plaintiffs’ P320s as warranted and the value of the P320s accepted by the plaintiffs, within the

meaning of RSA 382-A:2-314, plus incidental and consequential damages including damages for

personal injury as allowed by RSA 382-A:2-715.

                                           COUNT FOUR

           BREACH OF EXPRESS WARRANTY PURSUANT TO RSA 382-A:2-313

    (PLAINTIFFS KEVIN CURRINGTON AND HUNTER GALLY v. SIG SAUER, INC.)

          134.   Plaintiffs re-adopt and re-allege all paragraphs of this pleading as if fully set forth

herein.

          135.   At all times material hereto, SIG was in the business of marketing, selling, and

distributing weapons, including the gun causing plaintiffs' injuries.

          136.   Upon information and belief, Sig knew, or had reason to know, that the gun (i)

would be situated in holsters that would be affixed to human waists by means of belts, (ii) that

users and owners would walk around with p320s situated in holsters, and (iii) that the users were

in fact relying on Sig's skill, judgment, and express warranty of the gun’s fitness for those particular

purposes and would not fire.

          137.   Sig expressly warranted that the P320 would not fire unless the trigger was pulled.




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        138.      At all relevant times, plaintiffs used the gun in its intended manner, and for its

intended purposes.

        139.      Sig breached the above-referenced express warranty as to the guns in that they fired

without a trigger pull and were unreasonably dangerous at the time it left SIG’s possession by

virtue of:

        i.        Failing to use due care in designing and manufacturing the P320’s internal
                  components, including its sear, and by omitting a mechanical disconnect switch, so
                  as to prevent accidental discharges;

        ii.       Failing to issue a mandatory recall of the P320 as SIG had done in the past with
                  other defective products;

        iii.      Failing to make reasonable tests and/or inspections to discover the defective,
                  hazardous and unreasonably dangerous conditions relating to the gun’s propensity
                  to discharge accidentally as described above;

        iv.       Negligently failing to unambiguously and conspicuously warn purchasers and end
                  users of the gun, including plaintiffs, of said defective, hazardous and unreasonably
                  dangerous conditions relating to its design and manufacture, about which it knew
                  or should have known through the exercise of ordinary care;

        v.        Failing to discover the defective, hazardous and unreasonably dangerous conditions
                  relating to the gun’s propensity to discharge accidentally while in the possession of
                  Sig, and during which times employees, servants or agents of Sig had an
                  opportunity to inspect, service and work on the gun;

        vi.       Negligently failing to place a warning about the danger of mere “vibration” of the
                  gun in a conspicuous manner, such as on its frame, which could be easily
                  understood by a consumer, instead of relying on changing the bottom of page 25 of
                  the user manual for the gun after several incidents of accidental discharges; and

        vii.      Expressly warranting that the gun would not fire unless the trigger was pulled.

        140.      As a direct and proximate result of the breaches set forth in this Count, plaintiffs

have suffered and continue to suffer damages in the amount of the difference between the value of

the plaintiffs’ P320s as warranted and the value of the P320s accepted by the plaintiffs, within the




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meaning of RSA 382-A:2-314, plus incidental and consequential damages including damages for

personal injury as allowed by RSA 382-A:2-715.

                                            COUNT FIVE

                  INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

    (PLAINTIFFS KEVIN CURRINGTON AND HUNTER GALLY v. SIG SAUER, INC.)

          141.   Plaintiffs re-adopt and re-allege all paragraphs of this pleading as if fully set forth

herein.

          142.   Upon information and belief, Sig had knowledge of serious design and

manufacturing defects in the commercial version of the P320 gun more than eight years, if not

longer, before plaintiffs were shot in May and September 2024. It had knowledge of scores of un-

commanded discharges as well, many of which were directly reported to Sig and input into its

Oracle RMA system for tracking customer complaints and incidents.

          143.   Despite having such knowledge, which included almost 200 incidents of reported

un-commanded discharges before plaintiffs were shot, Sig failed to issue a mandatory recall of the

gun despite the ability to do so, which would have prevented the severe injuries to plaintiffs.

          144.   Had Sig acted responsibly and repaired the defects in the commercial version of the

P320 when it first became aware of them, or had Sig issued an unambiguous, nationwide safety

warning, plaintiffs never would have been shot.

          145.   The bullets unintentionally discharged from the P320s easily could have taken

Plaintiffs’ lives, and that of any bystander near either Plaintiff at the time of discharge, including

schoolchildren.

          146.   Sig’s acts and omissions as alleged herein endangered the safety and lives of end

users of its products because Sig sought to save millions in repair costs, and avoid tarnish to its




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corporate image by omitting to institute a mandatory recall as it had done for other defective Sig

weapons, choosing instead to implement a woefully inadequate “voluntary upgrade program” that

did not solve the problems with the gun.

          147.   Sig’s conduct in this matter as described herein was extreme and outrageous such

as to go beyond all possible bounds of decency, and be regarded as atrocious, and utterly intolerable

in a civilized community.

          148.   Through Sig’s extreme and outrageous conduct, Sig intentionally or recklessly

caused plaintiffs severe emotional distress, as well as severe physical injury.

          149.   As a direct and proximate result of the tortious conduct set forth in this Count,

plaintiffs suffered severe physical injury, fear of imminent death, nightmares, mental anguish,

inconvenience, traumatic stress, sleeplessness and trauma associated with the same. The plaintiffs

are entitled to enhanced compensatory damages due to the wanton, malicious and/or oppressive

nature of the defendant’s conduct.

                                             COUNT SIX

                  NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

    (PLAINTIFFS KEVIN CURRINGTON AND HUNTER GALLY v. SIG SAUER, INC.)

          150.   Plaintiffs re-adopt and re-allege all paragraphs of this pleading as if fully set forth

herein.

          151.   Sig owed a duty of care to the plaintiffs, and end users of the P320 generally, to

ensure that the P320 was free of design and/or manufacturing defects that could cause the gun to

discharge without the trigger being pulled.

          152.   Sig further owed a duty of care to the plaintiff, and end users of the P320 generally,

to notify them of such defects in the P320 that could endanger them.




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          153.   In addition, SIG owed a duty of care to issue a mandatory recall of P320 guns, given

Sig’s prior notice and knowledge of design and manufacturing defects imperiling the lives and

safety of end users.

          154.   Sig breached each its duties of care owed to the plaintiff, foreseeably causing the

plaintiffs severe mental and emotional distress, including fear of imminent death, accompanied by

objective physical symptoms.

          155.   As a direct and proximate result of the breaches set forth in this Count, plaintiffs

suffered severe physical injury, nightmares, mental anguish, inconvenience, traumatic stress,

sleeplessness, anxiety and trauma associated with the same. The plaintiffs are entitled to enhanced

compensatory damages due to the wanton, malicious and/or oppressive nature of the defendant’s

conduct.

                                           COUNT SEVEN

                                     LOSS OF CONSORTIUM

                 (PLAINTIFF TERRI JEAN CURRINGTON V. SIG SAUER, INC.

          156.   Plaintiffs re-adopt and re-allege all paragraphs of this pleading as if fully set forth

herein.

          157.   At all relevant times, plaintiff Terri Jean Currington was the lawful spouse of

plaintiff Kevin Currington, who sustained severe and permanent injuries due to the negligent

and/or wrongful acts of defendant Sig.

          158.   As a direct and proximate result of Sig's actions and the injuries sustained by her

spouse, plaintiff Terri Jean Currington has suffered and continues to suffer the loss of consortium,

including the loss of services, society, and marital relations.




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                                      PRAYER FOR RELIEF

       WHEREFORE, plaintiff respectfully requests that this Court:

The plaintiffs demand a trial by jury on all counts.

       A.       Schedule this case for trial by jury, and after trial;

       B.       Find the defendant liable for negligence;

       C.       Find the defendant liable for strict product liability;

       D.       Find the defendant liable for breach of the implied warranty of merchantability

pursuant to RSA 382-A:2-314;

       E.       Find the defendant liable for breach of express warrant pursuant to RSA 382-A:2-

313;

       F.       Find the defendant liable for intentional infliction of emotional distress;

       G.       Find the defendant liable for negligent infliction of emotional distress;

       H.       Find the defendant liable to the plaintiff Terri Jean Currington for loss of

consortium;

       I.       Award the plaintiffs damages for lost earnings and lost earning capacity;

       J.       Award the plaintiffs damages for medical expenses;

       K.       Award the plaintiffs compensatory damages for such damages as physical injury,

pain and suffering, emotional distress and loss of enjoyment of life;

       L.       Award the plaintiffs enhanced compensatory damages;

       M.       Award the plaintiffs damages for the difference between the value of Plaintiffs’

P320 guns as warranted and the value of the P320s accepted by Plaintiffs; and

       N.       Award the plaintiffs interest and costs; and

       O.       Grant such other and further relief as is just and equitable.




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                                            Respectfully submitted,
                                            KEVIN CURRINGTON,
                                            TERRI JEAN CURRINGTON, and
                                            HUNTER GALLY,
                                            By their attorneys,


Date: January 13, 2025              By:     /s/ Benjamin T. King
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                                      and

Date: January 13, 2025              By:     /s/ Jeffrey S. Bagnell
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